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             Exhibit “C”
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                           REAL ESTATE PURCHASE CONTRACT

       Whispering Pines, Inc., a Nevada corporation,( “Seller”) agrees to sell and convey to
Live Oak Pond LLC, a Georgia limited liability company or assigns (“Buyer”) and Buyer agrees
to purchase from Seller the real property situated in Thomas County, Georgia as described on
attached Exhibit “A”, together with all rights, privileges, and appurtenances appertaining thereto.
All property sold and conveyed by this contract is hereinafter referred to as the “Property”.

       1. CONTRACT SALE PRICE: Buyer shall pay Seller the sum of $1,278,750.00 as the
purchase price for the Property. The purchase price shall be paid as follows:

                i.      $25,000.00 as earnest money, receipt of which is acknowledged; and

                ii.     $1,253,750.00 to be delivered at closing in cash or immediately available
                        funds.

       2. EARNEST MONEY: The Earnest Money deposit shall be $25,000.00 which has
previously been delivered to Seller.

        3. DEED: Seller agrees to execute and deliver at closing a General Warranty Deed free
of exceptions except for (a) easements and interests in the nature of easements of record, and
special assessments; (b) exceptions subsequently accepted by Buyer; (c) the Standard Exceptions
contained in the form of Owners Title Insurance Policy currently in use in the State of Georgia;
and (d) other exceptions which may be otherwise set forth herein.

        4. CLOSING COSTS: Buyer shall pay all closing costs, including the cost to update the
abstract and the fee for the attorney’s title opinion. There shall be no pro-rations of rent, utilities
or property taxes. .

        5. POSSESSION: Buyer shall be entitled to possession of the Property from and after
the date of Closing.

        6. CLOSING: Closing of this transaction shall be held on or before March 14, 2016, but
in circumstance shall the closing be any later than April 12, 2016.

       7. DISTRIBUTION OF SALE PROCEEDS: Distribution of $1,253,750.00 shall occur
immediately on the day of closing to RH Fund X, LLC (“RH”), the current mortgage holder on
the Property.

        8. LIENS AND ENCUMBRANCES: Upon immediate availability of $1,253,750 for
tender to RH on the day of Closing, it is understood that RH will have no further liens or
encumbrances upon the Property, with liens and encumbrances allowed to Thomasville National
Bank, as the new first mortgage holder in an amount equal to Thomasville National Bank’s
contribution to the sale price, and with liens and encumbrances allowed to Robert Thomas III, or
any designee Robert Thomas III may indicate, in an amount equal to Robert Thomas III’s (or
any designee) contribution to the sale price.

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       9. TAXES: The Buyer shall pay the real property ad valorem taxes for 2016. There shall
be no pro-ration of the property taxes for 2016.

       10. INSPECTION CONTINGENCIES: Buyer has already inspected the Property.
Accordingly, there shall be no inspection contingencies. In the event Buyer terminates this
Contract without cause, Buyer shall forfeit the Earnest Money Deposit and shall pay the cost to
update the abstract and the attorney fees incurred by Seller.

         11. DEFAULT: In the event Seller or Buyer refuses to close for a reason not
authorized by this Contract, the other party may seek any legal or equitable remedy available to
it, including specific performance. Provided, however, that nothing in this paragraph shall apply
in the event failure to close is due to Seller’s failure to cure title defects. In the event a suit is
instituted on, or related to, this Contract, the prevailing party shall have the right to recover all of
such party’s expenses and costs incurred by reason of such litigation including, but not limited
to, attorney’s fees, court costs, and costs of suit preparation.

       12. CONDITION OF THE PROPERTY: Seller and Buyer agree that Buyer is
purchasing the Property “AS IS”, that is, in its condition as of the date of execution of this
Contract, and that Seller makes no warranties or representations concerning the condition of the
Property, or any of the improvements, fixtures, or systems thereon, in any respect.

        13. PROVISIONS SURVIVING CLOSING: The provisions of Paragraph 12 and any
other provisions specifically stating time subsequent to closing by which an event shall happen,
and any other provisions pertaining to warranties made or not made or other provisions of this
contract which, by their terms, contemplate remaining in effect subsequent to the closing of this
transaction shall so remain in full force and effect and survive the closing of this transaction.

       14. MISCELLANEOUS: Time is of the essence of this Contract. This Contract shall,
be binding upon the successors and assigns, or other legal representatives of the parties. This
Contract shall not become binding upon any party until all parties have executed this Contract.

        15.     JURISDICTION: The parties each agree to the jurisdiction of the state or federal
courts of Thomas County, Georgia, except where superseded by the United States Bankruptcy
Court for the District of Nevada. Each party agrees to that service of process may be made upon
it by certified mail directed to the address of each party’s registered agent.

        16.    TENANT DEPOSITS: Seller is not in possession of any tenant deposits.

        17.     PRO RATIONS ON DATE OF CLOSING: All utility expenses and operating
expenses of the Property shall be allocated to Buyer as of the date of Closing. However, Seller
has no liability for any utility expenses on the Property. If there are utility services in the Seller’s
name, and if the Closing occurs on a date other than the first day of the month, Seller shall
provide the closing agent with an accounting of an estimate of the utility and any other operating
expenses of the Property for the current month to the date of Closing.


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        IN WITNESS WHEREOF, Buyer and Seller have executed this Agreement the date
written below.


SELLER:                                        Whispering Pines, Inc., a Nevada
                                               corporation

                                             By: _______________________________
Date: ______________                              Robert Thomas, III, President




BUYER:                                         Live Oak Pond LLC, a Georgia limited
                                               liability company


Date: ______________                           By:_________________________________
                                                 Robert Thomas, III, Manager




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             Exhibit “A”
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